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18
                         UNITED STATES DISTRICT COURT
19
                        CENTRAL DISTRICT OF CALIFORNIA
20
     ENVISIONTEC, INC.
21
22                Plaintiff,
                                                 Case No.: 2:16-cv-06812-RSWL-RAO
23
           vs.                                   JOINT STIPULATION FOR
24                                               DISMISSAL WITH PREJUDICE
25   FORMLABS, INC.

26                Defendant.
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28
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 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff
 2   EnvisionTEC, Inc. and Defendant Formlabs, Inc. (individually “Party” and
 3   jointly “the Parties”), by and through their undersigned counsel, hereby stipulate
 4   as follows:
 5          WHEREAS, Plaintiff EnvisionTEC, Inc. has represented that it will not
 6   appeal the final written decision entered by the Patent Trial and Appeal Board in
 7   IPR2017-01258;
 8          WHEREAS the Parties have agreed to the Dismissal With Prejudice of
 9   this action concerning U.S. Patent No. 7,195,472 (the “’472 Patent”), including
10   all claims and counterclaims stated herein concerning the ‘472 Patent against all
11   Parties, with each Party to bear its own attorneys’ fees and costs.
12          NOW, THEREFORE, IT IS HEREBY STIPULATED by and through the
13   undersigned counsel, that all claims and counterclaims concerning the ‘472
14   Patent are dismissed with prejudice.
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16   Dated: November 1, 2018           /s/ Michael A. Albert
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     Dated: November 1, 2018           /s/ Frank A. Angileri
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     JOINT STIPULATED DISMISSAL
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     JOINT STIPULATED DISMISSAL
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